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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

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(1005 C46(1CS Lf: )A ic! 5

(Enter full name of slaintiff in this action).

Case No. 2. 24-cv- 002 15- SU
Unk i Nav Ne Plaintiff, (To be supplied by Court)
VS. LAAT) nV 2 ap

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Gove Meu at LAS, H COMPLAINT UNDER
THE CIVIL RIGHTS ACT
42 U.S.C. § 1983

(NON-PRISONERS)

(Enter full names of defendant(s) in this action.
Do NOT use et al.)

Defendant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a )(3) and 42 U.S.C. § 1983. If you
assert jurisdiction under any different or additional authorities, please list them below:

B. Parties

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4. Plaintiff: This complaint alleges that the civil rights of LUCY) IC NCioe [
(print your name)

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5 ct Sy 7 / Un, f..
who presently resides at_c p24 /podol fluc Heh atc
(mailing address)

were violated by the actions of the individual(s) named below.

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2. Defendants (Make a copy of this page and provide same information if you are naming more than 3
defendants):

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ee; > Lae ep a
Defendant No. ill Kin Ww Mamea bovet[n mest al L/S) _ isacitizen of
/) lL : (name) } : i

fy Ps , and is employed as a Fedelal Dover

(state) (defendant's government position/title)

\ This defendant personally participated in causing my injury, and | want money
damages.

Y The policy or custom of this official's government agency violates my rights, and |
eek injunctive relief (to stop or require someone do something).

Defendant No. 2, is a citizen of
(name)

, and is employed as a
(state) (defendant's government position/title)

This defendant personally participated in causing my injury, and | want money
damages.
OR
____The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

Defendant No. 3, is a citizen of
(name)

, and is employed as a
(state) (defendant's government position/title)

This defendant personally participated in causing my injury, and | want money
damages.
OR
____The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

C. Causes of Action (You may attach additional pages alleging other causes of action and facts
supporting them if necessary. Make copies of page 5 and rename them pages 5A, 5B, etc. and rename
the claims, “Claim 4," “Claim 5, etc.”).

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se rs }
Claim 1: On or about Fup. ot la/4 _ my civil right to
(Date)

(due process, freedom of religion, free speech, freedom of assaciation and/or assembly, freedom from cruel and
unusual punishment, pte. List only one violation.)
was violated by Unkdo wn hemes One rhmMe ft at fl ts CH

(Name of the specific Defendant whe violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 1. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 1.):

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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action, or otherwise relating to your imprisonment? Yes X No

2. If your answer is “Yes,” describe each lawsuit.
a. Lawsuit 1:

Plaintiff(s):

Defendant(s):

Name and location of court:

Docket number: Name of judge:
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

b. Lawsuit 2:

Plaintiff(s):

Defendant(s):

Name and location of court:

Docket number: Name of judge:
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

F. Request for Relief
Plaintiff requests that this Court grant the following relief:

1. Damages in the amount of $ /]. mul |)2 LY

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2. Punitive damages in the amount of $ Edi pal (a/)

3. An order requiring defendant(s) to |> Gi lie ip stote._tnry fameh (19 h+s
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4. A declaration that wil| by LLP alone Aina al bpWieel Medicc | teahmeint

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5. Other: lo hol 4 hearie Gheut The _fhise Jo/c NUE stag oy)
2 |
Plaintiff demands a trial by jury. _ Yes No

DECLARATION UNDER PENALTY OF PERJURY
The undersigned declares under penalty of perjury that s/he is the plaintiff

in the above action, that s/he has read the above civil rights complaint and
that the information contained in the complaint is true and correct.

Executed at , be fyalan on 1? af f ap: (4

7) (Plaintiff's Original Signature)

Original Signature of Attorney (if any) (Date)

Attorney's Address and Telephone Number

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